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UNITED STATES D|STR|CT COURT

D|STRICT OF CONNECTECUT
GEORGE W. BILLINGS, ||i : NO. 3:06C\/01804 (JBA)
Piaintitf, :
v.
PORTFOL'|O RECOVERY
ASSOC|ATION, LLC :
Defendant. : JULY 9, 2007

ST|PULAT|ON FOR DlS|V||SSA|__ WITH PREJUD|CE
The piaintiff and defendant by and through the undersigned, hereby stipulate
that the above entitled action sha|i be dismissed With prejudice to piaintiff on his

Comp|aint and Without costs and/or attorney's fees to any party.

THE PLA!NT!FF THE DEFENDANT
GEORGE W. B|LL|NGS, ||| PORTFOL|O RECOVERY
ASSOC|ATES, LLC

few r@¢\_ By:

 

 

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